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 2 ALPHAMORLAI L. KEBEH (State Bar No. 336798)
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 3 DANNING, GILL, ISRAEL & KRASNOFF, LLP
   1901 Avenue of the Stars, Suite 450
 4 Los Angeles, California 90067-6006                                        SEP 15 2022
   Telephone: (310) 277-0077
 5 Facsimile: (310) 277-5735                                            CLERK U.S. BANKRUPTCY COURT
                                                                        Central District of California
                                                                        BY gonzalez DEPUTY CLERK
 6 General Bankruptcy Counsel for Jinzheng Group
   (USA) LLC, Debtor and Debtor in Possession
 7
                                                                 CHANGES MADE BY COURT
 8                               UNITED STATES BANKRUPTCY COURT

 9                                CENTRAL DISTRICT OF CALIFORNIA

10                                       LOS ANGELES DIVISION

11

12 In re                                                  Case No. 2:21-bk-16674-ER

13 JINZHENG GROUP (USA) LLC,                              Chapter 11

14                     Debtor and Debtor-in-              ORDER APPROVING COMPROMISE
                       Possession.                        BETWEEN DEBTOR AND DNQ LLC
15
                                                          Hearing Date:
16                                                        Date:    September 14, 2022
                                                          Time:    11:00 a.m.
17                                                        Crtrm.: Courtroom 1568
                                                                   255 E. Temple Street
18                                                                 Los Angeles, California 90012

19            On September 14, 2022, at 11:00 a.m., there came before the Court for hearing Jinzheng

20 Group (USA) LLC’s Motion for Order Approving Compromise Between Debtor and DNQ LLC

21 (doc. no. 342) (the “Motion”), filed by Jinzheng Group (USA) LLC (the “Debtor”), the Honorable

22 Ernest M. Robles, United States Bankruptcy Judge, presiding.

23            The Court, having read and considered the Motion and the agreement filed with the Motion

24 as Exhibit “1,” (the “Agreement”); having found that notice of the Motion and the hearing were

25 adequate and proper; having issued a tentative ruling to approve the Motion and waiving

26 appearances; with good cause shown; it is hereby

27            ORDERED THAT:

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 1            1.       The Motion is GRANTED in its entirety for the reasons set forth in the Court’s

 2 tentative ruling [Doc. No. 380], which the Court adopts as its final ruling.

 3            2.       The Agreement, a copy of which is attached hereto as Exhibit “1” and incorporated

 4 herein by this reference, is APPROVED in its entirety.

 5            3.       The Debtor is authorized to execute all documents and otherwise take all necessary

 6 and appropriate actions to effectuate the Agreement.

 7            Without limiting the generality of the foregoing,

 8            IT IS FURTHER ORDERED THAT:

 9            4.       In the event of a subsequent sale of the Debtor’s property located 2240 Lorain Road,

10 San Marino, California 91108 (the “Property”) pursuant to 11 U.S.C. § 363, after notice and a

11 hearing, and pursuant to the terms of the Agreement, the Debtor may sell the Debtor’s right, title

12 and interest in and to the Debtor’s Property, free and clear of any lien, right, or claim of DNQ LLC

13 with respect to the Property.

14            5.       In the event of a sale of the Property by the Debtor, the Debtor shall receive 25% of

15 the net sale proceeds available after payment of the first and second liens, and other liens senior to

16 DNQ’s, any property tax liabilities, any other escrow or closing costs and brokers’ commissions;

17 and DNQ’s lien shall attach to the net proceeds remaining, and DNQ shall be entitled to payment

18 thereof within 45 days after the closing of the sale or the Property.

19            6.       Only for purposes of a sale of the Property by Debtor, DNQ’s lien on the Property is

20 subordinated to the rights of the Debtor under the Agreement.

21            7.       DNQ shall have an allowed proof of claim in the amount of $420,000, without

22 prejudice to DNQ seeking a claim in a higher amount.

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      Date: September 15, 2022
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                                          3   EXHIBIT 1                           12
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